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 5
 6                         UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA
 7
 8                                                  Case No:

 9   FERNANDO GASTELUM,                                VERIFIED COMPLAINT
10
                                       Plaintiff,      1. Americans with Disabilities
11                                                                   Act
                                                              2. Negligence
12                       vs.                                   3. Negligent
13                                                            Misrepresentation
     IMARA HOLDINGS, Inc., a Delaware                      4. Failure to Disclose
14   Corporation d/b/a Residence Inn by                 5. Fraud / Consumer Fraud
     Marriott Phoenix,
15
                                                        JURY TRIAL REQUESTED
16                                 Defendant(s).
17
                                      INTRODUCTION
18
     1. Plaintiff brings this action pursuant to the Americans with Disabilities Act, 42
19
20      U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and

21      Department of Justice Standards for Accessible Design (“ADA”).
22
     2. Plaintiff’s left leg is amputated below the knee. Plaintiff moves with the aid of
23
24      a wheelchair or a prosthetic leg. Plaintiff suffers from a disability as this term
25      is defined in 42 U.S.C. 12102 and 28 CFR §36.105 (c)(1)(i) which includes,
26
        inter alia, “walking, standing, sitting, reaching, lifting [and] bending” and other
27
28
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 1      activities. A partial missing limb “substantially limit[s] musculoskeletal
 2
        function” as a matter of law. 28 CFR § 36.105 (d)(2)(iii)(D).
 3
     3. Plaintiff is constantly and relentlessly segregated and discriminated against,
 4
 5      excluded, denied equal services, or otherwise treated differently than other
 6
        individuals because of his disability, and has been denied the opportunity to
 7
 8
        participate in or benefit from services, facilities and opportunities available

 9      people without disabilities.
10
     4. Plaintiff incorporates herein Congressional Findings and Purpose set forth in 42
11
12      U.S.C. §12-101 and 28 CFR §36.101.

13   5. Plaintiff is being subjected to discrimination on the basis of disability in
14
        violation of Subchapter III of the Americans with Disabilities Act or has
15
16      reasonable ground to believe that that he is about to be subjected to

17      discrimination in violation of 42 U.S.C. §12183.
18
     6. Plaintiff alleges that he has actual notice that Defendant has failed to comply
19
20      with Subchapter III of the ADA, 28 CFR 36 and the 2010 Standards of

21      Accessibility Design (“2010 Standards”) as more fully alleged below.
22
     7. Plaintiff alleges that he has no obligation to engage in futile gestures as
23
24      referenced in 42 U.S.C. §12188(A)(1) and 28 C.F.R. Subpart E

25   8. Defendant has discriminated against Plaintiff by the following actions and
26
        failures to act –
27
28


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 1      a. Failing to make reasonable modifications in policies, practices, or
 2
           procedures which are necessary to afford Plaintiff and others similarly
 3
           situated accessibility to Defendant’s place of public accommodation, thus
 4
 5         violating 42 U.S.C. §12182(b)(2)(A)(ii) and 28 C.F.R. §36.302(a); and
 6
        b. Failing to take such steps as may be necessary to ensure that no individual
 7
 8
           with a disability is excluded, denied services, segregated or otherwise treated

 9         differently than other individuals because of the absence of auxiliary aids
10
           and services, thus violating 42 U.S.C. §12182(b)(2)(A)(iii); and
11
12      c. Failing to remove architectural barriers where such removal is readily

13         achievable, thus violating 42 U.S.C. §12182(b)(2)(A)(iii), 28 CFR 36 and
14
           the 2010 Standards..
15
16                                       PARTIES

17   9. Plaintiff is a disabled person and a committed individual to advance the time

18      when places of public accommodations will be compliant with the ADA.

19   10.Plaintiff’s disability includes the amputation of the left leg below the knee.

20      Plaintiff moves with the use of a wheelchair, walker and/or a prostethis.

21   11.Defendant Imara Holdings, Inc. owns and/or operates hotel under the name Residence

22      Inn by Marriott Phoenix located at 8242 N Black Canyon Hwy, Phoenix Arizona
        85051 which is a public accommodation pursuant to 42 U.S.C. § 12181(7)(A)
23
24
        which offers public lodging services. See 28 CFR §36.104 and a listing of public

25
        accommodations in 42 U.S.C. §12181(7).

26                                    JURISDICTION

27   12.District Court has jurisdiction over this case or controversy by virtue of 28

28      U.S.C. §§ 28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.


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 1   13.Plaintiff brings this action as a private attorney general who has been personally
 2      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188
 3      and 28 CFR §36.501.
 4   14.Venue is proper pursuant to 28 U.S.C. § 1391.
 5                       STANDING TO SUE JURISDICTION
 6   15. Plaintiff reviewed 3rd party and 1st party lodging websites to book an
 7      ambulatory and wheelchair accessible room. Plaintiff was denied equal
 8      opportunity to use and enjoyment of a critical public accommodation through
 9      Defendant’s acts of discrimination and segregation alleged below.
10   16.Plaintiff intends to book a room at the Defendant’s hotel once Defendant has
11      removed all accessibility barriers, including the ones not specifically referenced
12      herein, and has fully complied with the ADA.
13   17. Because of Defendant’s denial of Plaintiff’s use and enjoyment of a critical
14      public accommodation through Defendant’s acts of discrimination and
15      segregation, he is deterred from visiting that accommodation by accessibility
16      barriers and other violations of the ADA.
17   18.Defendant has denied Plaintiff -
18         a. The opportunity to participate in or benefit from the goods, services,
19            facilities, privileges, advantages, or accommodations at its hotel.
20         b. The right to be included in the population at large who benefits from
21            Defendant’s hotel without being segregated because his disability.
22   19.Plaintiff intends to book a room at Defendant’s hotel in the future but he will
23      likely suffer repeated injury unless and until the barriers of accessibility and
24      ambulatory and wheelchair accessibility barriers have been removed.
25                           CONTINUING JURISDICTION
26   20.ADA violations which form the subject matter of this Verified Complaint
27      change frequently due to regular maintenance, remodels, repairs, and normal
28      wear and tear.

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 1   21.Defendant’s ADA Violations are of the type that can reasonably be expected to
 2      start up again, allowing Defendant to be free to return to the old ways' after the
 3      threat of a lawsuit had passed.
 4   22.If one or more ADA violation are cured, Plaintiff alleges that they were cured
 5      and timed to anticipate the current lawsuit, and not as a good faith effort to
 6      comply with the ADA.
 7   23.To remedy the violations of 28 CFR 36.302(e), Defendant would be required
 8      not only to modify all 1st and 3rd party lodging websites, but would be required
 9      to do so truthfully and accurately.
10
11                                      COUNT ONE
                     Violation of Plaintiff’s Civil Rights under the ADA
12
13   24.Plaintiff realleges all allegations heretofore set forth.

14   25.By virtue of his disability, Plaintiff requires an ADA compliant lodging facility

15      particularly applicable to his mobility, both ambulatory and wheelchair assisted.

16   26.On or about July 31, 2017 Plaintiff visited a 3rd party website expedia.com to

17      book a room.

18   27.3rd party website disclosed general availability and description of Defendant’s

19      hotel.

20   28.3rd party website failed to identify and describe mobility related accessibility

21      features and guest rooms offered through its reservations service in enough

22      detail to reasonably permit Plaintiff to assess independently whether

23      Defendant’s hotel meets his accessibility needs.

24   29.3rd party website failed to disclose the following accessibility features in

25      enough detail to reasonably permit Plaintiff to assess independently whether
26      Defendant’s hotel and guest rooms meets his accessibility needs:
27         a. Whether accessible routes comply with § 206 of the 2010 Standards; and
28


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 1       b. Whether operable parts on accessible elements, accessible routes and
 2          accessible rooms comply with §§205 and 803 of the 2010 Standards; and
 3       c. Whether any accessible means of egress comply with §207 of the 2010
 4          Standards.
 5       d. Whether parking spaces comply with §§208 and 502 of the 2010
 6          Standards; and
 7       e. Whether passenger loading zones comply with §§209 and 503 of the
 8          2010 Standards; and
 9       f. Whether any drinking fountains comply with §211 of the 2010 Standards;
10          and
11       g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
12          of the 2010 Standards; and
13       h. Whether toilet facilities and bathing facilities comply with §213 of the
14          2010 Standards; and
15       i. Whether any washing machines and clothes dryers comply with §§214
16          and 611 of the 2010 Standards; and
17       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
18          and
19       k. Whether dining surfaces and work surfaces comply with §§226 and 902
20          of the 2010 Standards; and
21       l. Whether sales and service elements comply with §227 of the 2010
22          Standards; and
23       m. Whether any saunas and steam rooms comply with §§241 and 612 of the
24          2010 Standards; and
25       n. Whether any swimming pools, wading pools and spas comply with
26          §§242 and 1009 of the 2010 Standards; and
27       o. Whether floor and ground surfaces comply with §302 of the 2010
28          Standards; and

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 1       p. Whether changes in level comply with §303 of the 2010 Standards; and
 2       q. Whether turning spaces comply with § 304 of the 2010 Standards; and
 3       r. Whether floor and ground spaces comply with §305 of the 2010
 4          Standards; and
 5       s. Whether knee and toes clearances comply with §306 of the 2010
 6          Standards; and
 7       t. Whether protruding objects comply with §307 of the 2010 Standards; and
 8       u. Whether the reach ranges comply with §308 of the 2010 Standards; and
 9       v. Whether the operating parts on accessible features comply with §309 of
10          the 2010 Standards; and
11       w. Whether accessible routes comply with §402 of the 2010 Standards; and
12       x. Whether walking surfaces comply with §403 of the 2010 Standards; and
13       y. Whether doors, doorways and gates comply with §404 of the 2010
14          Standards; and
15       z. Whether ramps comply with § 405 of the 2010 Standards; and
16       aa. Whether curb ramps comply with §406 of the 2010 Standards; and
17       bb.Whether any elevators comply with §407 of the 2010 Standards; and
18       cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
19       dd.Whether any stairways comply with §504 of the 2010 Standards; and
20       ee. Whether handrails on elements requiring handrails comply with §505 of
21          the 2010 Standards; and
22       ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
23          Standards with respect to all the following subchapters of Chapter 6: §§
24          602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
25          closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
26          607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
27          in bathtubs and shower compartments), and
28       gg.Whether service counters comply with 904 of the 2010 Standards.

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 1   30.3rd party website did not permit Plaintiff to book a room.
 2   31.Thereafter, Plaintiff consulted Defendant’s 1st party website to determine the
 3      information unavailable from the third-party website.
 4   32.1st party website failed to identify and describe mobility related accessibility
 5      features and guest rooms offered through its reservations service in enough
 6      detail to reasonably permit Plaintiff to assess independently whether
 7      Defendant’s hotel meets his accessibility needs.
 8   33.In particular, 1st party website failed to disclose the following accessibility
 9      features in enough detail to reasonably permit Plaintiff to assess independently
10      whether Defendant’s hotel and guest rooms meets his accessibility needs:
11         a. Whether accessible routes comply with § 206 of the 2010 Standards; and
12         b. Whether operable parts on accessible elements, accessible routes and
13            accessible rooms comply with §§205 and 803 of the 2010 Standards; and
14         c. Whether any accessible means of egress comply with §207 of the 2010
15            Standards.
16         d. Whether parking spaces comply with §§208 and 502 of the 2010
17            Standards; and
18         e. Whether passenger loading zones comply with §§209 and 503 of the
19            2010 Standards; and
20         f. Whether any drinking fountains comply with §211 of the 2010 Standards;
21            and
22         g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
23            of the 2010 Standards; and
24         h. Whether toilet facilities and bathing facilities comply with §213 of the
25            2010 Standards; and
26         i. Whether any washing machines and clothes dryers comply with §§214
27            and 611 of the 2010 Standards; and
28


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 1       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
 2          and
 3       k. Whether dining surfaces and work surfaces comply with §§226 and 902
 4          of the 2010 Standards; and
 5       l. Whether sales and service elements comply with §227 of the 2010
 6          Standards; and
 7       m. Whether any saunas and steam rooms comply with §§241 and 612 of the
 8          2010 Standards; and
 9       n. Whether any swimming pools, wading pools and spas comply with
10          §§242 and 1009 of the 2010 Standards; and
11       o. Whether floor and ground surfaces comply with §302 of the 2010
12          Standards; and
13       p. Whether changes in level comply with §303 of the 2010 Standards; and
14       q. Whether turning spaces comply with § 304 of the 2010 Standards; and
15       r. Whether floor and ground spaces comply with §305 of the 2010
16          Standards; and
17       s. Whether knee and toes clearances comply with §306 of the 2010
18          Standards; and
19       t. Whether protruding objects comply with §307 of the 2010 Standards; and
20       u. Whether the reach ranges comply with §308 of the 2010 Standards; and
21       v. Whether the operating parts on accessible features comply with §309 of
22          the 2010 Standards; and
23       w. Whether accessible routes comply with §402 of the 2010 Standards; and
24       x. Whether walking surfaces comply with §403 of the 2010 Standards; and
25       y. Whether doors, doorways and gates comply with §404 of the 2010
26          Standards; and
27       z. Whether ramps comply with § 405 of the 2010 Standards; and
28       aa. Whether curb ramps comply with §406 of the 2010 Standards; and

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 1         bb.Whether any elevators comply with §407 of the 2010 Standards; and
 2         cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
 3         dd.Whether any stairways comply with §504 of the 2010 Standards; and
 4         ee. Whether handrails on elements requiring handrails comply with §505 of
 5            the 2010 Standards; and
 6         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
 7            Standards with respect to all the following subchapters of Chapter 6: §§
 8            602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
 9            closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
10            607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
11            in bathtubs and shower compartments), and
12         gg.Whether service counters comply with 904 of the 2010 Standards.
13   34.1st party website did not permit Plaintiff to book a room.
14   35.Thereafter Plaintiff called Defendant’s hotel to inquire whether it was
15      compliant with the ADA and suitable for Plaintiff’s accessibility needs.
16   36.Plaintiff spoke with hotel reservations clerk, Mary Ann. Plaintiff specifically
17      inquired whether Defendant’s hotel was compliant with the Americans with
18      Disabilities Act and compliant with the specific requirements of accessibility.
19   37.Reservations clerk responded that the hotel was compliant with the Americans
20      with Disabilities Act.
21   38.Plaintiff subsequently visited the hotel to independently verify that it was, at
22      least on the outside, suitable to accommodate his disability.
23   39.Plaintiff noted that the hotel was not compliant with the ADA and was replete
24      with accessibility barriers in the details which include, without limitation, the
25      following areas of non-compliance:
26      a. Accessible parking spaces are not the closest to an accessible route entering
27         the hotel; and
28      b. Some accessible parking spaces are improperly marked; and

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 1      c. Some accessible parking spaces are inadequately sized; and
 2      d. Some accessible parking spaces are improperly sloped; and
 3      e. Signage on accessible parking spaces is missing or improperly displayed;
 4         and
 5      f. Some or all curb ramps are too steep; and
 6      g. Some ramps lack edge protection; and
 7      h. Numerous curbs on accessible routes are not ramped; and
 8      i. Accessible route requires a disabled individual to cross a lane of traffic; and
 9      j. The stairs are non-compliant; and
10      k. Changes in level on accessible routes are not ramped; and
11      l. The passenger drop-off area is improperly marked; and
12      m. Other deficiencies to be supplemented upon completion of discovery.
13   40.As a result of the deficiencies described above, Plaintiff declined to book a room
14      at the hotel.
15   41.The removal of accessibility barriers listed above is readily achievable.
16   42.As a direct and proximate result of ADA Violations, Defendant’s failure to
17      remove accessibility barriers prevented Plaintiff from equal access to the
18      Defendant’s public accommodation.
19   WHEREFORE, Plaintiff prays for all relief as follows:
20         A. Relief described in 42 U.S.C. §2000a – 3; and
21         B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
22         C. Injunctive relief order to alter Defendant’s place of public
23             accommodation to make it readily accessible to and usable by ALL
24             individuals with disabilities; and
25         D. Requiring the provision of an auxiliary aid or service, modification of a
26             policy, or provision of alternative methods, to the extent required by
27             Subchapter III of the ADA; and
28         E. For costs, expenses and attorney’s fees; and

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 1           F. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
 2                                       COUNT TWO
                                          Negligence
 3
 4   43.Plaintiff realleges all allegations heretofore set forth.
 5   44.Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that
 6        Plaintiff as a disabled individual would have full and equal access to the public
 7        accommodation.
 8   45.Defendant breached this duty.
 9   46.Defendant is or should be aware that, historically, society has tended to isolate
10        and segregate individuals with disabilities, and, despite some improvements,
11        such forms of discrimination against individuals with disabilities continue to be
12        a serious and pervasive social problem1.
13   47.Defendant knowingly and intentionally participated in this historical
14        discrimination against Plaintiff, causing Plaintiff damage.
15   48.Discrimination against individuals with disabilities persists in the use and
16        enjoyment of critical public accommodations2.
17   49.Defendant’s knowing and intentional persistence in discrimination against
18        Plaintiff is alleged, causing Plaintiff damage.
19   50.Individuals with disabilities, including Plaintiff, continually encounter various
20        forms of discrimination, including outright intentional exclusion, the
21        discriminatory effects of architectural, overprotective rules and policies, failure
22        to make modifications to existing facilities and practices, exclusionary
23        qualification standards and criteria, segregation, and relegation to lesser
24        services, programs, activities, benefits, jobs, or other opportunities3.
25
26   1
         42 U.S.C. § 12101(a)(2)
27   2
         42 U.S.C. §12101(a)(3)
28   3
         42 U.S.C. §12101(a)(5)

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 1   51.Defendant’s knowing and intentional discrimination against Plaintiff reinforces
 2        above forms of discrimination, causing Plaintiff damage.
 3   52.Census data, national polls, and other studies have documented that people
 4        with disabilities, as a group, occupy an inferior status in our society, and are
 5        severely disadvantaged socially, vocationally, economically, and
 6        educationally4.
 7   53.Defendant’s knowing and intentional discrimination has relegated Plaintiff to
 8        an inferior status in society, causing Plaintiff damage.
 9   54.The Nation’s proper goals regarding individuals with disabilities are to assure
10        equality of opportunity, full participation, independent living, and economic
11        self-sufficiency for such individuals5.
12   55.Defendant’s knowing and intentional discrimination has worked counter to our
13        Nation’s goals of equality, causing Plaintiff damage.
14   56.Continued existence of unfair and unnecessary discrimination and prejudice
15        denies people with disabilities the opportunity to compete on an equal basis and
16        to pursue those opportunities for which our free society is justifiably famous,
17        and costs the United States billions of dollars in unnecessary expenses resulting
18        from dependency and nonproductivity6.
19   57.Defendant’s knowing and intentional unfair and unnecessary discrimination
20        against Plaintiff demonstrates Defendant’s knowing and intentional damage to
21        Plaintiff.
22   58.Defendant’s breach of duty caused Plaintiff damages including, without
23        limitation, the feeling of segregation, discrimination, relegation to second class
24
25
26   4
         42 U.S.C. §12101(a)(6)
27   5
         42 U.S.C. §12101(a)(7)
28   6
         42 U.S.C. §12101(a)(8)

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 1      citizen status the pain, suffering and emotional damages inherent to
 2      discrimination and segregation and other damages to be proven at trial.
 3   59.By violating Plaintiff’s civil rights, Defendant engaged in intentional,
 4      aggravated and outrageous conduct.
 5   60.The ADA has been the law of the land since 1991, but Defendant engaged in a
 6      conscious action of a reprehensible character, that is, Defendant denied Plaintiff
 7      his civil rights, and cause him damage by virtue of segregation, discrimination,
 8      relegation to second class citizen status the pain, suffering and emotional
 9      damages inherent to discrimination and segregation and other damages to be
10      proven at trial
11   61.Defendant either intended to cause injury to Plaintiff or defendant consciously
12      pursued a course of conduct knowing that it created a substantial risk of
13      significant harm to Plaintiff.
14   62.Defendant is liable to Plaintiff for punitive damages in an amount to be proven
15      at trial sufficient, however, to deter this Defendant and others similarly situated
16      from pursuing similar acts.
17   WHEREFORE, Plaintiff prays for relief as follows:
18         A. For finding of negligence; and
19         B. For damages in an amount to be proven at trial; and
20         C. For punitive damages to be proven at trial; and
21         D. For such other and further relief as the Court may deem just and proper.
22                                   COUNT THREE
23                               Negligent Misrepresentation

24   63.Plaintiff realleges all allegations heretofore set forth.
25   64.Defendant failed to exercise reasonable care or competence in obtaining or
26      communicating the information regarding ADA compliance to Plaintiff both on
27      the websites and telephonically.
28


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 1   65.Defendant hotel supplied false information to Plaintiff for guidance in
 2      Plaintiff’s business transaction, to wit: the renting of a hotel room.
 3   66.Defendant’s false statement was made in the course of Defendant’s business in
 4      which Defendant has a pecuniary interest, to wit: renting of rooms.
 5   67.Plaintiff justifiably relied on Defendant’s false information and rented a room
 6      at Defendant’s hotel.
 7   68.Plaintiff has suffered pecuniary losses as a result of his reliance on Defendant’s
 8      false information regarding ADA compliance, to wit: he spent time, effort and
 9      resources.
10   69.Defendant either intended to cause injury to Plaintiff or defendant consciously
11      pursued a course of conduct knowing that it created a substantial risk of
12      significant harm to Plaintiff.
13   70.Defendant is liable to Plaintiff for punitive damages in an amount to be proven
14      at trial sufficient, however, to deter this Defendant and others similarly situated
15      from pursuing similar acts.
16   WHEREFORE, Plaintiff prays for relief as follows:
17         A. For finding of negligent misrepresentation; and
18         B. For damages in an amount to be proven at trial; and
19         C. For punitive damages to be proven at trial; and
20         D. For such other and further relief as the Court may deem just and proper.
21
22                                     COUNT FOUR
23                                    Failure to Disclose

24   71.Plaintiff realleges all allegations heretofore set forth.
25   72.Defendant was under a duty to Plaintiff to exercise reasonable care to disclose
26      matters required to be disclosed pursuant to 28 CFR 36.302(e) as more fully
27      alleged above.
28


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 1   73.Defendant was under a duty to disclose matters to Plaintiff that Defendant knew
 2      were necessary to be disclosed to prevent Plaintiff to be misled by partial
 3      disclosures of ADA compliance as more fully alleged above.
 4   74.The compliance with the ADA is a fact basic to the transaction.
 5   75.Defendant failed to make the necessary disclosures.
 6   76.As a direct consequence of Defendant’s failure to disclose, Plaintiff visited the
 7      hotel, but did not book a room because of its non-compliance with the ADA.
 8   77.Plaintiff has been damaged by Defendant’s non-disclosure.
 9   78.Defendant either intended to cause injury to Plaintiff or defendant consciously
10      pursued a course of conduct knowing that it created a substantial risk of
11      significant harm to Plaintiff.
12   79.Defendant is liable to Plaintiff for punitive damages in an amount to be proven
13      at trial sufficient, however, to deter this Defendant and others similarly situated
14      from pursuing similar acts.
15   WHEREFORE, Plaintiff prays for relief as follows:
16         A. For finding of that Defendant failed to disclose information; and
17         B. For damages in an amount to be proven at trial; and
18         C. For punitive damages to be proven at trial; and
19         D. For such other and further relief as the Court may deem just and proper.
20
21                                   COUNT FIVE
22                                       Fraud
                                 Common Law and Consumer
23
24   80.Plaintiff realleges all allegations heretofore set forth.

25   81.Defendant made a representation as alleged above.
26   82.The representation was material.
27   83.The representation was false.
28   84.The representation was material.


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 1   85.Defendant knew that the representation was false or was ignorant to the truth or
 2         falsity thereof.
 3   86.Defendant intended that Plaintiff rely on the false representation.
 4   87.Plaintiff reasonably relied on the misrepresentation.
 5   88.Plaintiff has a right to rely on the misrepresentation.
 6   89.Plaintiff was consequently and proximately damaged by Defendant’s
 7         misrepresentation.
 8   90.Defendant’s misrepresentation was made in connection with the sale or
 9         advertisement of merchandise with the intent that Plaintiff rely on it.
10   91.Renting of hotel rooms is “merchandise” as this term is defined in A.R.S. §44-
11         1521(5).
12   92. Plaintiff relied on the misrepresentation.
13   93.Plaintiff suffered an injury resulting from the false misrepresentation
14   94.Defendant either intended to cause injury to Plaintiff or defendant consciously
15         pursued a course of conduct knowing that it created a substantial risk of
16         significant harm to Plaintiff.
17   95.Defendant is liable to Plaintiff for punitive damages in an amount to be proven
18         at trial sufficient, however, to deter this Defendant and others similarly situated
19         from pursuing similar acts.
20   WHEREFORE, Plaintiff prays for relief as follows:
21            A. For finding of that Defendant failed to disclose information; and
22            B. For damages in an amount to be proven at trial; and
23            C. For punitive damages to be proven at trial; and
24            D. For such other and further relief as the Court may deem just and proper.
25                               REQUEST FOR TRIAL BY JURY
26            Plaintiff respectfully requests a trial by jury in issues triable by a jury.
27   ///
28   ///


                                                  17
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 1   RESPECTFULLY SUBMITTED this 2ND day of August 2017.
 2                                       STROJNIK, P.C.
 3
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 9                                        VERIFICATION
10
     Plaintiff verifies that he has read the forgoing and that the factual allegations stated above
11   are true and correct to the best of his knowledge, information and belief. Plaintiff makes
     this verification under the penalty of perjury.
12
13
                                         /s/ Fernando Gastelum
14                                       Authorized Electronically
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